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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 UNITED STATES OF AMERICA,
        Movant,
        v.
                                                                      Misc. No. 7:22-mc-00164
 ERIC WIENCKOWSKI,
        Respondent.


         ERIC WIENCKOWSKI’S NOTICE OF MOTION TO TRANSFER
  UNITED STATES’ MOTION TO COMPEL AND MOTION TO STAY RESPONSIVE
                     DEADLINES PENDING RULING

       Eric Wienckowski, by and through his undersigned counsel, hereby moves to transfer the

United States’ Motion to Compel Compliance with Non-Party Subpoena and also moves to stay

the responsive deadlines related to the United States’ Motion to Compel pending a ruling on the

Motion to Transfer. As explained in the accompanying memorandum of law, Mr. Wienckowski

desires that the United States’ motion to be heard by the three-judge panel where the underlying

litigation is pending, and the United States does not oppose the transfer. Mr. Wienckowski also

requests that the Court stay the responsive deadlines pending the Court’s ruling on the Motion to

Transfer.

                                                    Respectfully submitted,

                                                    /s/David Cohen
                                                    David M. Cohen
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                                                    New York New York 10019
                                                    (646) 606-2995
                                                    David.cohen@butlersnow.com

                                                    Scott K. Field
                                                    (pro hac vice application forthcoming)
                                                    BUTLER SNOW LLP
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Respondent represents in his Motion to Transfer Venue to the
Western District of Texas, El Paso Division, that Movant does
not oppose the motion. (See generally Doc. 11; Doc. 12).
                                                                       Austin, TX 78701
                                                                       (737) 802-1816
The parties are, accordingly, directed to file a Proposed              Scott.field@butlersnow.com
Stipulation and Order transferring this matter to the Western
District of Texas, El Paso Division, forthwith.                        Counsel for Eric Wienckowski
Insofar as Respondent seeks a stay of the deadline to respond
to the pending motion to compel, that request is denied.

The Clerk of the Court is respectfully directed to terminate the
motion sequence pending at Doc. 12.

SO ORDERED.
    RDERED.


_______________________
Philip M. Halpern
United States District Judge

Dated: White Plains, New York
       June 23, 2022




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